Case 2:04-cr-20423-BBD Document 37 Filed 07/28/05 Page 1 of 5 Page|D 34
UN|TED STATES D|STRICT COURT

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wlLLlE JoHNsoN

Doris Randl¢a-Ho|tl FPD
Defense Attorney

200 Jefferson Ave., Ste. 200
Memphis, TN 38103

 

JUDGMENT lN A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on April 13, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Count
Tit|e & Se¢tion Nature of Offense Offense Number¢s)
Conc|uded
18 U.S.C. § 922(g) Felon in Possession of a Firearm 06/09!2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the N|andatory
Victirns Restitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residencel or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/14/1956 July 22, 2005
Deft’s U.S. Marsha| No.: 19994-076

Defendant’s Mai|ing Address:
160 Delta Road
l\/lemphisl TN 38109

     
  
  

UN|TED STATES DlSTR|CT JUDGE

ys‘Lf ,,2005

Ju|
Thls document entered on the docket "

with Rule 55 end/or 32(b) FFlCrP on

Case 2:04-cr-20423-BBD Document 37 Filed 07/28/05 Page 2 of 5 Page|D 35

Case No: 2:04CR20423-01 Defendant Name: Wil|le JOHNSON Page 2 of 4
IMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 42 Months with defendant to receive credit for any

time served for the instant offense

The defendant is remanded to the custody of the United States lV|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. N|arsha|

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Case No: 2:04CR20423-01 Defendant Name: Wil|ie JOHNSON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for a term
of 3 years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised reiease, the defendant shall not commit another federa|, state or local
crime and shall not possess a firearm, ammunition, or destructive device as defined in 18 U.S.C.
§ 921.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant
shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been adopted
by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall reportto the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change iri residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation of&cer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ocher;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofncer;

10. The defendant shall notify the probation officer within 72 hours cf being arrested or questioned by a
law enforcement officer;

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Case No: 2:04CR20423-01 Defendant Name: Wiiiie JOHNSON Page 4 of 4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer. the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such hne or restitution in accordance with the Schedule of Payments set
forth in the Criminai Monetary Penaities sheet of this judgment.

ADD\TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

The defendant shall participate in substance abuse testing and treatment programs as

directed by the Probation Officer;

The defendant shall participate in mental health counseling as directed by the Probation

Off`icer;

The defendant shall participate in anger management classes as directed by the Probation

Officer;

The defendant shall participate in domestic violence classes as directed by the Probation

Officer',

The defendant shall cooperate with the collection of DNA as directed by the Probation

Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00

 

 

 

The Speciai Assessment shall be due immediateiy.

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

   

UNITED sATE DISTRICT COURT - WTERN DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:04-CR-20423 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

